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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:22-cr-00044-APM
         v.                                   :
                                              :
ANTHONY CAROLLO,                              :
                                              :
                 Defendant                    :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Anthony Carollo to 14 days of incarceration, 36 months of probation,

60 hours of community service, and $500 in restitution.

    I.        Introduction

         Defendant Anthony Carollo participated in the January 6, 2021, attack on the United States

Capitol—a violent attack that forced an interruption of Congress’s certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred police officers, and resulted in more than $2.7 million in

losses. 1

         Defendant Carollo pleaded guilty to one count of Parading, Demonstrating, or Picketing in

a Capitol Building, in violation of Title 40, United States Code, Section 5104(e)(2)(G). As

explained herein, a sentence including 14 days of incarceration is appropriate in this case because


1
 As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,734,783.15. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police.


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Carollo: (1) stood on the Upper West Plaza among other rioters who were battling with police as

they tried to protect the Capitol from the violent mob, (2) entered the Capitol by climbing through

a broken window shortly after the initial breach, (3) walked throughout the building for more than

15 minutes, including in the vicinity of Speaker Pelosi’s suite and trips through the Crypt and the

Rotunda, and (4) took photos with his cell phone inside the building but deleted them before they

could be used as evidence against him or other rioters.

        The Court also must consider that Carollo’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers and disrupt the proceedings. See United States v. Thomas Fee, 1:21-

cr-00131 (JDB), Tr. 04/01/2022 at 17 (“The defendant was an active participant in a mob assault

on our core democratic values and our cherished institution. And that assault was intended by

many and by the mob at large in general to interfere with an important democratic processes of

this country. I cannot ignore that, cannot pull this misdemeanor out of that context.”) (statement

of Judge Bates). Carollo’s actions and those of his fellow rioters enabled the breach of the Capitol,

threatened the lives of the police officers, legislators, and their staffs, and disrupted the certification

vote for several hours. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr.

10/4/2021 at 25 (“A mob isn’t a mob without the numbers. The people who were committing

those violent acts did so because they had the safety of numbers.”) (statement of Judge Chutkan).

Here, the facts of and circumstances of Carollo’s crime support a sentence of 14 days of

incarceration, 36 months of probation, 60 hours of community service, and $500 in restitution.




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   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 38 (Statement of Offense), at ¶¶ 1-7. As this Court knows, a

riot cannot occur without rioters, and each rioter’s actions—from the most mundane to the most

violent—contributed, directly and indirectly, to the violence and destruction of that day. With that

backdrop we turn to Carollo’s conduct and behavior on January 6.

              Defendant Carollo’s Role in the January 6, 2021 Attack on the Capitol

         About a week before the January 6 riot, Carollo’s co-defendant, Jeremiah Carollo, texted

him and co-defendant Cody Vollan to ask if they wanted to attend former President Trump’s rally

on January 6. They agreed on a plan to do so. On January 5, 2021, Vollan and Anthony Carollo

drove Vollan’s car from their home near Chicago to the Baltimore/Washington International

Airport, where they picked up Jeremiah Carollo. The three men spent the night in a hotel in

Washington, D.C., and the next morning took an Uber to former President Trump’s rally.

          After the rally, the three men followed the crowd to the Capitol. They entered the Capitol

grounds from the west and made their way to the Upper West Plaza, in an area where other rioters

were skirmishing with police officers. This image shows Carollo and his co-defendants on their

approach:




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       The following screenshot is from a video showing the three men (Anthony Carollo in the

middle, indicated with the arrow) near the area on the Upper West Plaza where police were

attempting to keep rioters from advancing on the Capitol:




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The video is Exhibit 1 to this memorandum. In the video, co-defendant Jeremiah Carollo (in the

gray hood and tan jacket) can be heard saying what sounds like, “Let’s totally do it.” The men

then made their way to the Capitol building, and entered through a broken window adjacent to the

Senate Wing Door around 2:22 p.m. See ECF 38 at ¶ 8. The following images are taken from

surveillance video recorded inside the Capitol as Carollo entered with his co-defendants:




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       The three men walked together throughout the Capitol for more than 15 minutes, including

in the vicinity of Speaker Pelosi’s suite and trips through the Crypt and the Rotunda. Id. The

following image shows them walking through the Rotunda:




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The following image shows them walking through Statuary Hall:




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       They exited the building via the Memorial Door around 2:38 p.m. Id. Capitol surveillance

video shows them leaving the grounds about 20 minutes later:




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                                        Defendant’s Interview

          On October 27, 2021, Carollo agreed to speak to FBI agents about his actions on January

6. He admitted entering the Capitol building through a broken window with his co-defendants,

Cody Vollan and Jeremiah Carollo. He said they went up a flight of stairs and into the Rotunda,

but did not enter any private offices. When shown a photo taken on January 6 on the Capitol

grounds, Carollo identified himself and Vollan (Jeremiah Carollo was not in the photo). He also

told agents he took photos with his cell phone inside the building but that he deleted them.

                                   The Charges and Plea Agreement

          On January 14, 2022, the United States charged Carollo by criminal complaint with

violating 18 U.S.C. §§ 1752(a)(1) & (2) and 40 U.S.C. §§ 5104(e)(2)(D) & (G). On January 19,

2022, law enforcement officers arrested him at his home in Illinois. On February 7, 2022, the

United States charged him by information with the same offenses charged in the complaint and,

on April 21, 2022, he pleaded guilty, pursuant to a written plea agreement, to Count Four of a

Superseding Information charging him with Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G). As part of the plea agreement, Carollo agreed

to pay $500 in restitution to the Architect of the Capitol.

   III.      Statutory Penalties

          Carollo now faces sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, he faces up to six months of

imprisonment and a fine of up to $5,000. He also must pay restitution under the terms of his plea

agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C.

Cir. 2008). Because this offense is a Class B Misdemeanor, the Sentencing Guidelines do not

apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.



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   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of a sentence of 14 days of

incarceration, 36 months of probation, 60 hours of community service, and $500 in restitution.

             A. The Nature and Circumstances of the Offense

          The attack on the United States Capitol on January 6, 2021, defies hyperbole. It was a

criminal offense unlike any other in American history, in that it was a direct assault not only on

our government, but on our system of government: it was an attack on democracy itself. Hostile

combatants breached and then stormed the halls and chambers of Congress with the sole purpose

of reversing, by force, a United States Presidential election. Using violence and intimidation, the

mob of rioters sought to override and invalidate the votes of millions of Americans. To put it

plainly, the events of January 6 may be distilled as follows: the rioters beat and injured police

officers and destroyed doors and obliterated windows to infiltrate our seat of government because

they wanted to force Congress to cancel the certification of the Presidential election and install the

loser of that election as the winner. By its very nature, the attack eludes comparison to other

events.




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       Although each defendant must be sentenced based on his own conduct, this Court should

consider that each person who entered the Capitol on January 6 without authorization did so under

extreme circumstances. As they entered the Capitol, they very likely crossed through numerous

barriers and barricades and heard the violent outcries and roar of a mob. Depending on the timing

and location of their approach, they also may have observed extensive fighting between the rioters

and police and smelled chemical irritants in the air. No rioter was a mere tourist that day. In fact,

Exhibit 1 shows Carollo and his co-defendants standing in the midst of fighting between other

rioters and police on the Upper West Plaza.

       Additionally, while assessing Carollo’s individual conduct and fashioning a just sentence,

this Court should look to a number of critical aggravating and mitigating factors, including:

(1) whether, when, and how the defendant entered the Capitol building; (2) whether the defendant

encouraged violence; (3) whether the defendant encouraged property destruction; (4) defendant’s

reaction to acts of violence or destruction; (5) whether, during or after the riot, the defendant

destroyed evidence; (6) the length of the defendant’s time inside the building, and exactly where

the defendant traveled; (7) the defendant’s statements in person or on social media; (8) whether

the defendant cooperated with, or ignored commands from police officers; and (9) whether the

defendant demonstrated sincere remorse or contrition. Although these factors are neither

exhaustive nor dispositive, they help to place each defendant on a spectrum as to his fair and just

punishment. If Carollo personally had engaged in violence or destruction, he would be facing

additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts by Carollo therefore is not a mitigating factor in this misdemeanor case.

        As Exhibit 1 shows, Carollo could not have mistaken the events of January 6 at the Capitol

as anything other than a riot. Despite what was happening around him on the Upper West Plaza,



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he followed the crowd of other rioters to the Capitol building, and he entered it by climbing through

a window that had been smashed to pieces just over ten minutes earlier. Shards of broken glass

littered the floor as he began his 15-minute march through the Capitol. Although he took

photographs to document his experience, he destroyed them before they could be used as evidence

against him or other rioters. To his credit, Carollo gave an apparently truthful interview to FBI

agents several months before his arrest, and he accepted responsibility and indicated a desire to

plead guilty almost immediately after his arrest, even before receiving discovery from the

government. The government is not aware of any social media posts by Carollo regarding the

riot. In light of the nature and the circumstances of Carollo’s offense, a sentence including 14 days

of incarceration is appropriate in this matter.

           B. The History and Characteristics of Carollo

       Carollo has no criminal history. He has an associate degree and a certificate in medical

coding from a junior college, and he plans to enroll this fall at Webster University in St. Louis, to

work toward completing his bachelor’s degree. He has been compliant with his conditions of

pretrial release and has expressed remorse for committing this offense. He spoke truthfully to FBI

agents about his involvement in the offense several months before his arrest, and he sought to

plead guilty almost immediately upon his arrest. To the government’s knowledge, he did not boast

about his participation in the riot nor did he glorify it on social media. Carollo’s history and

characteristics—both before and after his participation in the riot—factor significantly in the

government’s recommendation of a sentence including 14 days of incarceration rather than a

longer term.




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            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 2 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH,

Tr. 08/24/21 at 3 (“As to probation, I don't think anyone should start off in these cases with any

presumption of probation. I think the presumption should be that these offenses were an attack on

our democracy and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. “Future would-be rioters must be deterred.”

(statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-CR-00041 Tr.

10/13/2021 at 37).




2
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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        General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. As noted by Judge

Moss during sentencing in United States v. Paul Hodgkins, 21-cr-188-RDM:

        [D]emocracy requires the cooperation of the governed. When a mob is prepared to
        attack the Capitol to prevent our elected officials from both parties from performing
        their constitutional and statutory duty, democracy is in trouble. The damage that
        [Defendant] and others caused that day goes way beyond the several-hour delay in
        the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

[before the riot] for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.

        The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can

be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future potential

rioters—especially those who intend to improperly influence the democratic process—that their

actions will have consequences. There is possibly no greater factor that this Court must consider.

        Specific Deterrence

        Carollo’s conduct demonstrates that a sentence of incarceration is necessary to deter him

from committing future offenses. By climbing through a broken window after observing police

locked in battle with other rioters, he clearly demonstrated his disregard for the law and his

willingness to participate in the insurrection. His sentence must be sufficient to deter him from

similar criminal activity in the future.



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           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 This

Court must sentence Carollo based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot. Although those like Carollo convicted of misdemeanors are generally less culpable than

defendants convicted of felonies, misdemeanor breaches of the Capitol on January 6, 2021, were

not minor crimes. A probationary sentence should not be the default. 4 See United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (“I don’t want to create the impression

that probation is the automatic outcome here because it’s not going to be.”) (statement of Judge

Lamberth at sentencing). Accord, United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr.

9/17/2021 at 13 (statement of Judge Friedman).

       Carollo has pleaded guilty to Count Four of the Superseding Information charging him

with Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and


3
  Attached to this sentencing memorandum is a table providing additional information about the
sentences imposed on other Capitol breach defendants. That table also shows that the requested
sentence here would not result in unwarranted sentencing disparities.
4
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


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C misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C. § 3553(6), do apply, however.

       Although hundreds of defendants participated in the Capitol breach on January 6, 2021,

many salient differences explain the differing sentences recommended and imposed thus far.

Avoiding unwarranted disparities requires the courts to consider not only a defendant’s “record”

and “conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse

or cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C.

Cir. 2008) (no unwarranted disparity regarding lower sentence of co-defendant who, unlike

defendant, pleaded guilty and cooperated with the government).

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009); see id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the

Sentencing Guidelines do not apply here, the court cannot readily conduct a disparity analysis

against a nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of the legislative

branch of federal government, the vast size of the mob, the goal of impeding if not preventing the



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peaceful transfer of Presidential power, the use of violence by a substantial number of rioters

against police officers, and the large number of victims. Thus, even though many defendants were

not charged as conspirators or as co-defendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

Although no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide comparisons to some of the

relevant sentencing considerations in this case.

       For example, in the case of United States v. Jennifer Heinl, No. 1:21-cr-370 (EGS), the

defendant pleaded guilty to the same charge as Carollo. Like Carollo, Heinl witnessed clashes

between rioters and police before she entered the Capitol. Heinl entered the building around the

same time as Carollo, but she used the Senate Wing Door whereas Carollo climbed through a

broken window adjacent to that door. Heinl spent about 47 minutes in the Capitol, compared to

about 15 for Carollo. Unlike Carollo, Heinl made false statements to the FBI in her initial

interview and showed a lack of remorse in a later interview. Carollo, however, deleted evidence

of his and others’ crimes from his phone. Heinl received a sentence including 14 days of

incarceration and two years of probation.

       An additional useful comparator is United States v. Jeremy Ryan Sorvisto, No. 21-CR-320

(ABJ), another case in which the defendant pleaded guilty to the same charge as Carollo. Sorvisto

entered the building around the same time as Carollo, via the Senate Wing Door adjacent to the

broken window through which Carollo entered. Sorvisto spent about 25 minutes in the Capitol,

compared to Carollo’s 15. Unlike Carollo, Sorvisto boasted (mildly) about his conduct on social

media and via text messaging. He also directed another to delete incriminating photos of him,




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whereas Carollo handled that task himself. Sorvisto was sentenced to 30 days of incarceration

with no period of probation.

        As these cases show, there are infinite combinations of aggravating and mitigating

sentencing factors among Capitol Riot defendants—especially because “[n]o limitation shall be

placed on the information concerning the background, character, and conduct of a person convicted

of an offense which a court of the United States may receive and consider for the purpose of

imposing an appropriate sentence.” 18 U.S.C. § 3661. In any event, the goal of minimizing

unwarranted sentencing disparities in § 3553(a)(6) is “only one of several factors that must be

weighted and balanced,” and the degree of weight is “firmly committed to the discretion of the

sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The § 3553(a)

factors that this Court assesses are “open-ended,” with the result that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)

factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,

and differently from how other district courts might have sentenced that defendant.” Id. at 1095.

   V.      This Court’s Authority to Impose a Sentence of Up to 14 Days of Imprisonment
           and Probation.

        This Court has the authority under 18 U.S.C. § 3561(a)(3) to impose a “split sentence,”

i.e., a sentence requiring both a term of imprisonment and a term of probation, on a defendant who

has been convicted of a “petty offense.” See, e.g., United States v. Little, No. 21-cr-315 (RCL),

2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022) (concluding that “ a split sentence is permissible

under law and warranted by the circumstances of this case”); United States v. Sarko, No. 21-cr-

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591 (CKK), 2022 WL 1288435, at *1 (D.D.C. Apr. 29, 2022) (explaining why a split sentence is

permissible in a petty offense case); United States v. Caplinger, No. 21-cr-0342 (PLF), 2022 WL

2045373, at *1 (D.D.C. June 7, 2022) (“the Court concludes that a split sentence is permissible for

a petty offense and therefore is an option for the Court in Mr. Caplinger’s case.”); United States v.

Smith, No. 21-cr-290 (RBW), ECF 43 (D.D.C. Mar. 15, 2022) (imposing split sentence); United

States v. Meteer, No. 21-cr-630 (CJN), ECF 37 (D.D.C. April 22, 2022) (imposing split sentence);

United States v. Entrekin, No. 21-cr-686 (FYP), ECF 34 (D.D.C. May 6, 2022) (imposing split

sentence); United States v. Revlett, No. 21-cr-281 (JEB), ECF 46 (D.D.C. July 7, 2022) (imposing

split sentence); United States v. Getsinger, No. 21-cr-607 (EGS), ECF 60 (D.D.C. July 12, 2022)

(imposing split sentences); United States v. Ticas, No. 21-cr-00601 (JDB), ECF 40 (D.D.C. July

15, 2022). 5 But this Court need not decide that question in this case because there is no dispute

that such a defendant can be required to “remain in the custody of the Bureau of Prisons during

nights, weekends, or other intervals of time, totaling no more than the lesser of one year or the

term of imprisonment authorized for the offense, during the first year of the term of probation or

supervised release.” 18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing

courts “flexibility” to impose incarceration imprisonment as a condition of probation in one of two

ways. S. Rep. No. 225, 1983 WL 25404, at *98. First, a court can direct that a defendant be

confined in “split intervals” over weekends or at night. Id. Second, a sentencing court can impose

“a brief period of confinement” such as “for a week or two.” Id.




5
 In United States v. Lindsey, No. 21-cr-162 (BAH), ECF 102, the defendant pleaded guilty to three
counts: 18 U.S.C. § 1752(a)(1); 40 U.S.C. §§ 5104(e)(2)(D) and 5104(e)(2)(G). Chief Judge
Howell sentenced Lindsey to five months incarceration on each of the § 5104 counts, to be served
concurrently, and 36 months’ probation on the § 1752(a)(1) count.
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       Although the statute does not define an “interval of time,” case law suggests that it should

amount to a “brief period” of no more than a “week or two” at a time. See United States v. Mize,

No. 97-40059, 1998 WL 160862, at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s

legislative history in interpreting the term to mean a “brief period of confinement, e.g., for a week

or two, during a work or school vacation,” described above and reversing magistrate’s sentence

that included 30-day period of confinement as a period condition of probation); accord United

States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18, 2011) (concluding that two

45-day periods of continuous incarceration as a condition of probation was inconsistent with

Section 3563(b)(10)); see also United States v. Anderson, 787 F. Supp. 537, 538 (D. Md. 1992)

(continuous 60-day incarceration not appropriate as a condition of probation). A 14-day term of

imprisonment is therefore permissible under Section 3563(b)(10). See United States v. Stenz,

No. 21-cr-456 (BAH), ECF 38 (D.D.C. Feb. 17, 2022) (imposing imprisonment under Section

3563(b)(10); United States v. Schornak, No. 21-cr-278 (BAH), ECF 71 (D.D.C. Feb. 18. 2022)

(same); United States v. Herendeen, No. 21-cr-278 (BAH), ECF 87 (D.D.C. Apr. 1, 2022) (same);

United States v. McCreary, No. 21-cr-125 (BAH), ECF 46 (D.D.C. Apr. 1, 2022) (same); United

States v. Reed, No. 21-cr-204 (BAH), ECF 178 (D.D.C. Apr. 14, 2022) (same); United States v.

Watrous, No. 21-cr-627 (BAH), ECF 40 (D.D.C. Apr. 21, 2022) (same); United States v. Vuksanaj,

No. 21-cr-620 (BAH), ECF 43 (D.D.C. Apr. 29, 2022) (same); United States v. Heinl, No. 21-cr-

370 (EGS), ECF 43 (D.D.C. June 8, 2022), ECF 43 (same).

       No court appears to have decided whether a term of continuous imprisonment greater than

two weeks but less than 30 days is consistent with Section 3563(b)(10), and the government does

not advocate such a sentence here. Practical concerns with multiple short terms of intermittent

confinement (i.e., nights and weekends in jail), which would require repeated entries and



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departures from a detention facility during the COVID-19 pandemic, thereby increasing the risk

of spreading contagion in the facility, may militate against imposing that type of “intermittent”

confinement. For that reason, any 14-day term of imprisonment imposed as a condition of

probation under Section 3563(b)(10) should be ordered to be served without interruption.

   VI.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Carollo to 14 days of incarceration,

36 months of probation, 60 hours of community service, and $500 in restitution. Such a sentence

protects the community, promotes respect for the law, and deters future crime by imposing

restrictions on Carollo’s liberty as a consequence of his behavior, while recognizing his early

acceptance of responsibility for his crime.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        On this 1st day of September, 2022, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                           s/ Joseph DeGaetano
                                           Joseph DeGaetano
                                           Assistant United States Attorney




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